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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                     )
United States of America et al.,                     )
                                                     )
                         Plaintiffs,                 )
                                                     )
                                                       Civil Case Number
          v.                                         )
                                                       1:18-cv-02340-RJL
                                                     )
CVS Health Corporation et al.,                       )
                                                     )
                         Defendants.                 )
                                                     )

 AIDS HEALTHCARE FOUNDATION’S OPPOSITION TO THE UNITED STATES’
MOTION TO LIMIT THE SCOPE OF THE TUNNEY ACT HEARING AND EXCLUDE
             IRRELEVANT AND UNDISCLOSED TESTIMONY

          Amicus curiae AIDS Healthcare Foundation (“AHF”) respectfully submits this brief in

opposition to the United States Department of Justice Antitrust Division’s (“DOJ”) Motion to

Limit the Scope of the Tunney Act Hearing and Exclude Irrelevant and Undisclosed Testimony

(ECF No. 82) (“DOJ’s Motion”). DOJ’s Motion should be denied for three reasons. First,

DOJ’s motion is simply a retread of failed arguments it has repeatedly raised, and which the

Court has consistently rejected. Second, DOJ’s motion seeks to improperly limit the discretion

afforded to the Court under the Antitrust Procedures and Penalties Act (the “Tunney Act”).

Third, AHF has complied with the procedures for the hearing set forth by the Court, and the

evidence that AHF will introduce at the hearing will comply with the Federal Rules of

Evidence.1




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 AHF submits that the Court has the discretion to determine the extent to which the Federal
Rules of Evidence should apply to the evidentiary hearing in this case.



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                                           ARGUMENT

I.        DOJ’s Motion Should Be Denied under the Law-of-the-Case Doctrine

          DOJ’s Motion asks the Court to “limit the scope of testimony and evidence received at

the hearing to the adequacy of the proposed remedy in light of the violations alleged in the

Complaint and exclude the proposed out-of-bounds and inadmissible testimony before the

hearing.” DOJ asks the Court to strike all three of AHF’s witnesses. DOJ’s Motion, at 1-2. But

DOJ has repeatedly asked the Court to limit this Tunney Act proceeding in this way, and the

Court has consistently denied DOJ’s requests. Therefore, the Court should reaffirm its earlier

rulings and deny DOJ the relief that it seeks, under the law-of-the-case doctrine.

          Under that doctrine, “the same issue presented a second time in the same case in the same

court should lead to the same result.” Thomas v. Gandhi, 650 F. Supp. 2d 35, 39 (D.D.C. 2009)

(Leon, J.) (quoting LaShawn A. v. Barry, 87 F. 3d 1389, 1393 (D.C. Cir. 1996) (emphasis in

original)); see also Arizona v. California, 460 U.S. 605, 618 (1983) (“As most commonly

defined, the [law-of-the-case] doctrine posits that when a court decides upon a rule of law, that

decision should continue to govern the same issues in subsequent stages in the same case.”). The

law-of-the-case doctrine applies equally to issues decided both explicitly and “by necessary

implication.” See LaShawn A., 87 F.3d at 1394 (internal quotations omitted). “The Supreme

Court has instructed the lower courts to be ‘loathe’ to reconsider issues already decided ‘in the

absence of extraordinary circumstances such as where the initial decision was clearly erroneous

and would work a manifest injustice.’” LaShawn A., 87 F.3d at 1393 (internal quotations

omitted). No such extraordinary circumstances exist here.

          Throughout the course of these Tunney Act proceedings—indeed, well before AHF filed

its motion for leave to participate as amicus curiae—the Court has made it clear to DOJ that it

has the discretion to, and intends to, consider issues beyond those raised in DOJ’s Complaint.

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          More than six months ago, on December 2, 2018, DOJ filed a “Status Report on Merger

Integration,” in which DOJ attempted to limit the Court’s Tunney Act inquiry to the decree and

the Complaint. DOJ stated in the status report that “‘the court is only authorized to review the

decree itself,’ and not to ‘effectively redraft the complaint’ to inquire into other matters that the

United States did not pursue.” (ECF No. 25, at 3) (citing United States v. Microsoft Corp., 56

F.3d 1448, 1459-60 (D.C. Cir. 1995)). At the hearing the next day, December 3, 2018, the

Court, in addressing DOJ’s status report, made clear that it disagreed with DOJ’s interpretation

of the Court’s role, and specifically mentioned the need to consider public commentary on the

merger:

                   [T]hank you for so helpfully explaining my important role in this
                   process. Curiously, however, you said that my role, in effect, is
                   limited simply to deciding whether your proposed judgment
                   adequately addresses your complaint. You seem to have left
                   something out. As I’m sure you’re well aware, our Court of Appeals,
                   since the Microsoft case, has made it very clear that District Judges
                   must ensure that the government did not draft its complaint so
                   narrowly as to make a mockery of its judicial power. At this point, I
                   am concerned that the comments I might receive in the next two
                   weeks will raise this very point. Indeed, considering that you told me
                   just last week that Aetna sold its divested business for a mere 50- to
                   $100 million, I am concerned that your complaint raises anti-
                   competitive concerns about one-tenth of one percent of this $69
                   billion deal.


(ECF No. 26 at 6:14-7:6) (emphasis added).

          Following the hearing, the Court issued an Order to Show Cause to both DOJ and

CVS/Aetna as to why a Hold Separate Order should not issue. In its Response to Order to Show

Cause, DOJ again argued, at length, that the Court should not go beyond the Complaint in its

Tunney Act review. (ECF No. 32, at 1-8). At the Show Cause Hearing, on December 18, 2018,

the Court addressed DOJ’s response, stating that it was “not helpful to the Court,” and



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“unnecessarily defensive, if not hostile, to the role of the Federal Courts in the post Tunney Act

amendments period, 2004.” (ECF No.40, at 17:23-18:3).

          After AHF filed its amicus brief (on February 5, 2019), in which AHF raised competitive

concerns about the merger beyond those addressed in the Complaint, DOJ filed a response to the

Tunney Act comments in which it once again argued that issues not addressed in the Complaint,

such as vertical issues that AHF and other commenters had raised, were beyond the scope of the

Court’s Tunney Act review. (ECF No. 56 at 2-8, 24-30).

          At the status conference on April 5, 2019, DOJ repeated these same arguments, to no

avail.

          Specifically, at the April 5 hearing, counsel for AHF stated that it intended to call

witnesses at any evidentiary hearing, including at least one economic expert who would “support

the theories that [AHF] laid out in [its] amicus brief” (ECF No. 69 at 6:11-13). Counsel for the

consumer groups stated that he intended to call Diana Moss as a witness to testify to “the

antitrust concerns – the horizontal and the vertical antitrust concerns.” Id. at 11: 3-11. In

response to that presentation, DOJ again argued that the issues before the Court should be limited

to those raised in the Complaint. Id. at 17:7-11. The Court then engaged in a colloquy with DOJ

counsel on whether this position was supported by D.C. Circuit precedent. Id. at 17:13-25.

Following that colloquy, CVS’s counsel argued that before any testimony is offered, the Court

should first determine what issues are relevant to the hearing, and agreed with DOJ’s counsel

that any issues beyond those raised in the Complaint were irrelevant to the hearing. Id. at 18:6-

23:10.

          In response to those arguments by counsel for both DOJ and CVS, the Court declined to

limit the issues in the hearing. The Court stated that, in response to the amici witnesses’



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testimony about issues beyond those in the Complaint, the parties could “call three people or two

or three people who would simply indicate that, The testimony that you’ve just heard, Your

Honor, is for whatever – the following reasons irrelevant and is not worthy of your

consideration. You just put on a couple witnesses who will say that.” Id. at 24:10-16. The

Court then proceeded to describe the forthcoming order, in which the parties and amici were

directed to disclose their witnesses, which the Court issued on April 8, 2019. Id. at 25:4-26:10.

          By not excluding any of the amici’s witnesses or limiting the scope of their testimony, the

Court “by necessary implication,” LaShawn A., 87 F.3d at 1394, denied DOJ’s request. Thus,

the Court has now rejected repeated attempts by DOJ to limit the scope of the Court’s “public

interest” determination under the Tunney Act. Moreover, there are no extraordinary

circumstances here precluding application of law-of-the-case doctrine, such as an initial decision

that is clearly erroneous or would work a manifest injustice. In fact, the opposite is true: the

Court is well within its discretion under the Tunney Act to hold an evidentiary hearing and to

consider issues beyond those raised in the Complaint. Therefore, because DOJ’s Motion raises

the same issue in the same case in the same court, it should lead to the same result—denial of

DOJ’s Motion.

II.       DOJ’s Motion Seeks to Improperly Limit the Court’s Discretion under the Tunney
          Act.

          As explained in AHF’s amicus brief (ECF No. 60) (incorporated here by reference), the

plain language of the Tunney Act, as interpreted by courts in this Circuit, permits consideration

of the issues that AHF will raise at the hearing. In United States v. SBC Communications, Inc.,

Judge Sullivan ruled that “this Court cannot look beyond the complaint in making the public

interest determination unless the complaint is drafted so narrowly as to make a mockery of




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judicial power.” 489 F. Supp. 2d 1, 15 (D.D.C. 2007) (citing United States v. Microsoft, 56 F.3d

at 1462) (emphasis added).2

          This is the type of case where the “judicial mockery” exception should be applied. The

CVS/Aetna merger is the largest healthcare merger in history, combining the third-largest

insurance company with the largest pharmacy chain and one of three dominant PBMs in the

country. Yet, as the Court has recognized, DOJ’s Complaint deals with just .1% of this $69

billion deal. Moreover, this case has attracted an unusual amount of public concern—there were

173 Tunney Act comments, compared to just five comments in the Microsoft case and three in

SBC, for example. As the DOJ has conceded, the overwhelming majority of the comments

expressed concerns about the merger. (ECF No. 56, at 34) (“Twenty-six commenters expressed

support for the merger or praised CVS’s business practices.”).

          The Court has appropriately recognized that this is a uniquely important case worthy of

robust, public evidentiary proceedings. (ECF No. 69 at 27:5-10) (“This is a matter of great

consequence to a lot of people, millions and millions of people in this country. Millions and tens

of millions are going to be affected by this merger if it should be consummated completely, and

health care is a very high priority issue for tens and tens of millions of families throughout this

country.”).

          Moreover, DOJ’s Motion fundamentally misunderstands the scope of the evidentiary

hearing outlined by the Court. (ECF No. 70). The Court is allowing the amici the opportunity to

call witnesses on several issues and is permitting DOJ and CVS/Aetna to call witnesses in



2
 More recent decisions in this Court also reject DOJ’s position and follow the guidance of SBC
Communications. See, e.g., United States v. US Airways Group, Inc., 38 F. Supp. 3d 69, 85
(D.D.C. 2014); see also, e.g., United States v. Graftech Intern. Ltd., No. 1:10-cv-02039, 2011
WL 1566781, at *13-14 (D.D.C. Mar. 24, 2011).


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rebuttal to testify that those issues are irrelevant or not worthy of the Court’s concern. (ECF No.

69 at 24:10-16). Contrary to DOJ’s Motion, AHF is not asking the Court to “direct the

Executive to bring specific charges.” (ECF No. 82 at 7). Rather, AHF intends to introduce

evidence of competitive concerns with the merger that are shared by other amici and other

members of the public, so that the Court can consider those concerns when making its

determination as to whether the proposed decree is in the public interest. Such an inquiry is

entirely consistent with the law of this circuit.

III.      DOJ’s Procedural and Evidentiary Objections are Misplaced

          In its April 8, 2019, order, the Court directed the amici and the parties to provide a

witness list that would include the name of the witness; the bases of the witness’s knowledge or

expertise; the subject matter that will be covered by the witness’ testimony; and an estimate of

the duration of the direct testimony. (ECF No. 70). AHF’s April 19 filing complied with this

Order. Contrary to DOJ’s argument (see DOJ’s Motion, at 11), AHF’s filing did not run afoul of

any rule of evidence or procedure. If the Court, in its discretion, chooses to impose any

additional procedures upon the hearing beyond those set forth in its April 8 Order, AHF will

comply with any such procedures. For example, if the Court were to require the exchange of

expert reports, as DOJ suggests, AHF will provide expert reports for its expert witnesses.

          To the extent that DOJ wishes to raise any evidentiary objections to the testimony of any

witness at the hearing, the Court can decide any such objections at the hearing. But it is

premature at this point—before they have even had an opportunity to testify—for DOJ to claim

that any of AHF’s witnesses’ testimony would be subject to a valid evidentiary objection. AHF

will be presenting three witnesses at the hearing, each of whom will offer testimony that

complies with the Federal Rules of Evidence.



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                                         CONCLUSION

          The Court is entrusted with broad discretion to thoroughly review DOJ’s Proposed Final

Judgment to ensure that it is in the public interest. The evidence that AHF will present at the

evidentiary hearing will assist the Court in making that determination. DOJ’s Motion should be

denied.



Dated: May 10, 2019                           Respectfully Submitted,



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